Case 4:23-cv-01175-O Document 74-11 Filed 06/17/24   Page 1 of 6 PageID 1196




                     Exhibit
                     Exhibit K
                             K
                 $GREH$FUREDWRU$FUREDW5HDGHU0867EHXVHGWRFRPSOHWHWKLVIRUP
        Case 4:23-cv-01175-O  Document 74-11 Filed 06/17/24 Page 2 of 6 PageID 1197

    AO10T                                          FINANCIAL DISCLOSURE                                                        5HSRUW5HTXLUHGE\WKH(WKLFVLQ
                                                                                                                                 *RYHUQPHQW$FWRI
  Rev. /20
                                                PERIODIC TRANSACTION REP2RT                                                       86&DSS




  1.First Name                                     Middle Initial          3. Last 1ame                    4. Suffix

 Reed                                             C                           O'Connor
  5.Title                                          6.District&RXUW8QLW                                      7Circuit

 US District Judge                                 TEXAS NORTHERN                                              05
 . Report Type                                    &DOHQGDU<HDU             Date Filed                       &KHFNER[LIDPHQGLQJSULRUUHSRUW
                                                                                                                    DQGHQWHUGDWHRISULRUVXEPLVVLRQ

 Periodic Transaction Report                        2023                      02/22/2023
  1.'DWHRI)LUVW7UDQVDFWLRQRQWKLV5HSRUW                                 1.'DWHRI/DVW7UDQVDFWLRQRQWKLV5HSRUW

 02/06/2023                                                                   02/06/2023

TRANSACTIONS $Q\SXUFKDVHVDOHRUH[FKDQJHWKDWH[FHHGVLQVWRFNVERQGVFRPPRGLWLHVIXWXUHVDQGRWKHU
VHFXULWLHV ,QFOXGHVWKRVHRIVSRXVHDQGGHSHQGHQWFKLOGUHQ

                      A.                                B                  C.               D.                                  (.
              Description Rf Assets                 7UDQVDFWLRQ           Date of       Date Notified                         Amount
                                                       Type             Transaction    of Transaction                      RI7UDQVDFWLRQ




1. MAKITA CORPORATION LTD                          Buy             02/06/2023         02/18/2023        $1,000 - $15,000

2. BAYERISCHE MOTOREN WERKE                        Sold            02/06/2023         02/18/2023        $1,000 - $15,000

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    Case 4:23-cv-01175-O
75$16$&7,216                     Document 74-11 Filed 06/17/24 Page 3 of 6 PageID 1198
                $Q\SXUFKDVHVDOHRUH[FKDQJHWKDWH[FHHGVLQVWRFNVERQGVFRPPRGLWLHVIXWXUHVDQGRWKHU PageRI
  TRANSACTIONS
VHFXULWLHV                      Any purchase, sale, or exchange that exceeds $1,000 in stocks, bonds, commodities futures, and other
            ,QFOXGHVWKRVHRIVSRXVHDQGGHSHQGHQWFKLOGUHQ                                                                                         Page 2 of 5


  First Name
               Reed
 securities (Includes those of spouse and dependent children)
 First Name
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                                                      Middle Initial
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                                                                                                         O'Connor
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                                                                                              'DWH1RWLILHG                           E.
                                                                                                                                     $PRXQW
                Description of Assets                 Transaction
                                                         7\SH              Date of
                                                                          7UDQVDFWLRQ        Date Notified
                                                                                             RI7UDQVDFWLRQ                        Amount
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                                                           Type           Transaction        of Transaction                     of Transaction




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               $Q\SXUFKDVHVDOHRUH[FKDQJHWKDWH[FHHGVLQVWRFNVERQGVFRPPRGLWLHVIXWXUHVDQGRWKHU PagHRI
  TRANSACTIONS
VHFXULWLHV                     Any purchase, sale, or exchange
            ,QFOXGHVWKRVHRIVSRXVHDQGGHSHQGHQWFKLOGUHQ    that exceeds $1,000 in stocks, bonds, commodities futures, and other                Page 3 of 5


  First Name
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 securities (Includes those of spouse and dependent children).
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                Description of Assets                 Transaction
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                                                           Type           Transaction        of Transaction                      of Transaction




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  TRANSACTIONS
VHFXULWLHV                     Any purchase, sale, or exchange
            ,QFOXGHVWKRVHRIVSRXVHDQGGHSHQGHQWFKLOGUHQ    that exceeds $1,000 in stocks, bonds, commodities futures, and other                 Page 4 of 5


  First Name
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 securities (Includes those of spouse and dependent children).
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                Description of Assets                  Transaction
                                                          7\SH             Date of
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       Case 4:23-cv-01175-O Document 74-11 Filed 06/17/24                                                       Page 6 of 6 PageID 1201
                                                                                                                                      PageRI

First Name
               Reed                                  Middle Initial   C                     Last name     O'Connor                         Suffix


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WKHEHVWRIP\NQRZOHGJHDQGEHOLHIDQGWKDWDQ\LQIRUPDWLRQQRWUHSRUWHGZDVZLWKKHOGEHFDXVHLWPHWDSSOLFDEOHVWDWXWRU\SURYLVLRQVSHUPLWWLQJQRQGLVFORVXUH

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&5,0,1$/6$1&7,216 86&DSS




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 Reed O'Connor




                                                 Committee on Financial Disclosure
                                                 Administrative Office of the United States Courts
                                                 Suite G-330
                                                 One Columbus Circle, N.E.
                                                 Washington, D.C. 20544
